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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

THE CHURCH OF JESUS CHRIST

OF LATTER-DAY SAINTS, SERVANT: Civil Action No.
XIU JIAN SUN, THE SPIRITUAL ADAM. 1:20-ev-03331-RC
Plaintiffs,
Vv.
DONALD JOHN TRUMP — CAIN
Defendant.

 

NOTICE OF APPEAL

Notice is hereby given that Xiu Jian Sun, the spiritual Adam
(plaintiffs) in the above named case, * hereby appeal to the United
States Court of Appeals for the District of Columbia Circuit, (from
the final judgment) (from the order (describing it)) entered in this
action on the 30 day of June, 2021.

Dated: August 02, 2021
Queens, New York

The Church of Jesus Christ of Latter-day saints

Servant: Xi )iav\ Sun Ae *Pintual Adg ")
Xiu Jian Sun, the spiritual Adam
54-25 1534 St.,
Flushing, NY 11355

646-675-0308 __
Plaintiffs a Ss

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Clerk of Court
Angela D, co a he i et of Columb

U.S. Distr act Cour!”

  
   
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AFFIDAVIT OF MAILING

I hereby certify under penalty of perjury that on this 02 day of June,
2021, I caused to be placed in the United States mail (first-class postage
paid), copies of a “Notice of Appeal” address as follows:

To: Kenneth A. Adebonojo
U.S. Attorney's Office for the District of Columbia
United States Attorney Civil Process Clerk
555 Fourth Street, NW
Washington, DC 20530

U.S. Attorney General
U.S. Department of Justice

950 Pennsylvania Avenue, NW
Washington, DC 20530-0001

Dated: August 02, 2021

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